Case 1:20-cv-03478-CRC Document 1-2 Filed 11/30/20 Page 1 of 4




               EXHIBIT A
          Case 1:20-cv-03478-CRC Document 1-2 Filed 11/30/20 Page 2 of 4
Stewart A. Baker
202 429 6402
sbaker@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
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August 14, 2020


Via Email

FOIA Officer
U.S. Army Corps of Engineers
CECC-SPD South Pacific Division
450 Golden Gate Ave, 6th Floor
Post Office Box 36023
San Francisco, CA 94102-3661
foia-spd@usace.army.mil

FOIA Officer
U.S. Army Corps of Engineers
Humphreys Engineer Support Center [Headquarters]
CEHEC-OC
7701 Telegraph Road
Alexandria, VA 22315-3860
foia@usace.army.mil


        Re:      Freedom of Information Act Request

Dear Sir or Madam:

        Pursuant to the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”), and implementing
regulations of the Department of Defense, 32 C.F.R. Part 286, and the Department of the Army
(“DA”), 32 C.F.R. Part 518, Guadalupe Ranch Corporation and Diamond A Ranch, Western
Division, LLC (collectively, the “Requesters”), by and through their counsel, Steptoe & Johnson
LLP, hereby request the release of the following documents:

        1. Contracts and related attachments, exhibits, and annexes, including but not
           limited to design-build agreements and conditions imposed on the contractor,
           related to the Tucson Sector Barrier Wall Replacement Project, No. W912PL-
           19-C-0015.
         Case 1:20-cv-03478-CRC Document 1-2 Filed 11/30/20 Page 3 of 4

FOIA Officer
August 14, 2020
Page 2 of 3

           To narrow your search further, we are interested in documents pertaining to
           one 4.7 mile segment of the proposed wall. This segment centers on
           Guadalupe Canyon and the Peloncillo Mountains near the border of Arizona
           and New Mexico and adjoining the property of Diamond A Ranch, Western
           Division, L.L.C.

           We believe that this segment can be identified in several other ways:

           a. The easternmost 4.7 mile segment identified on U.S. Customs and Border
              Protection’s April 1, 2020 Cochise County Border Barrier Map;1

           b. U.S. Border Patrol Tucson Sector Project A Segments 5a & 5b; and

           c. Approximate GPS coordinates 31.332694-109.125 to 31.33202-
              109.049997.

       2. All other contracts and related attachments, exhibits, and annexes related to
          that portion of the Tucson Sector Barrier Wall Replacement Project.

        We understand that there may be fees and costs associated with this request. In
accordance with 5 U.S.C. § 552(a)(4)(A)(iii) and your agency’s regulations, we request a waiver
of these fees and costs. The subject of this request concerns the operations and efficiency of the
federal government, and the disclosures will likely contribute to a better understanding of
relevant government procedures by the general public in connection with a project that has
attracted extensive public interest already. The request is not primarily in the commercial
interests of the Requesters.

        If a fee waiver is not granted, we agree to pay any fees or costs up to $1,000 associated
with making these materials available to us. We are happy to accept PDF files rather than hard
copies, and we believe that this contract along with others has almost certainly been produced to
other parties under FOIA, so search costs should be minimal. If the costs will be in excess of
$1,000, please advise me before such costs are incurred. For purpose of assessing fees, we
believe that we fall under the category of “all other requesters.”

       We have reviewed the exemptions to the Freedom of Information Act and we believe that
none of the exemptions apply to the material we are requesting. Nonetheless, if you assert that
any document is subject to any exemption, please identify it and produce any reasonably
segregable portions thereof.

       As required by 32 C.F.R. § 518.8(d), we anticipate that your office will reply within
twenty days of receipt of this request.


1
 This map is available online at https://www.cbp.gov/sites/default/files/assets/documents/2020-
Apr/FY20%20Cochise%20Pima%20and%20Santa%20Cruz%20Counties%20Border%20Barrier%20Projects%20R
equest%20for%20Input%20Extension_ENGLISH.pdf. The relevant portion appears on page four.
         Case 1:20-cv-03478-CRC Document 1-2 Filed 11/30/20 Page 4 of 4

FOIA Officer
August 14, 2020
Page 3 of 3

       Please forward a copy of these records to my attention at the address listed above. If you
have any questions regarding this request, please contact me directly.

       Thank you for your assistance.

                                                    Sincerely,




                                                    Stewart A. Baker
                                                    (202) 429-6402
